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       DEFENDANTS TRUE WEARABLES, INC.’S AND MARCELO LAMEGO’S REPLY IN SUPPORT OF THEIR
                          MOTION FOR PARTIAL SUMMARY JUDGMENT
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                        UNITED STATES DISTRICT COURT
1
2                     CENTRAL DISTRICT OF CALIFORNIA

3
   MASIMO CORPORATION, a Delaware             Case No. 8:18-cv-02001-JVS-JDE
 4 Corporation; and CERCACOR
 5 LABORATORIES, INC., a Delaware             DEFENDANTS TRUE WEARABLES,
   corporation,                               INC.’S AND MARCELO LAMEGO’S
 6                                            REPLY IN SUPPORT OF THEIR
                Plaintiffs,                   MOTION FOR PARTIAL SUMMARY
 7                                            JUDGMENT
                vs.
 8                                            Hon. James V. Selna
 9 TRUE WEARABLES, INC., a Delaware           Hon. Magistrate John D. Early
   corporation; and MARCELO LAMEGO, an
10 individual,                                Date: October 4, 2021
                                              Time: 1:30 p.m.
11            Defendants.                     Place: 10C
12
                                              Complaint Filed: November 8, 2018
13                                            Trial Date:      January 11, 2020
14
                                               [REDACTED VERSION OF
15                                             DOCUMENT PROPOSED TO
16                                             BE FILED UNDER SEAL]
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 1 I.      NONINFRINGEMENT OF THE ’271 AND ’848 PATENTS
 2         A.    True Wearables does not Infringe any claim of the ’271 Patent
 3               Because the Oxxiom’s Alleged Cover is not “Designed to Block a
 4               Range of Wavelengths of Light Sufficient to Prevent Measurement”
 5         Plaintiffs try to manufacture disputes of fact where none exist. Plaintiffs focus on
 6 Dr. Lamego’s intent in designing the alleged cover Tab 2. (Dkt. 344 at 4-5.) But Dr.
 7 Lamego’s intent is not the basis for Defendants’ motion. (See Dkt. 332-2 at § III(A)(1)-
 8 (2).)1 Rather, it is the functionality of the Oxxiom® System when used as designed,
 9 instructed, and intended by True Wearables that warrants granting summary judgment.
10 (Id.)2 In particular, Tab 2 of the Oxxiom® System is not designed to block a range of
11 wavelengths of light sufficient to prevent measurement as required by the ’271 Patent.
12         Plaintiffs have not proved otherwise. Pages D-43, D-44, and D-47 of Mr.
13 Goldberg’s report, cited by Plaintiffs, discuss
14                                     . (E.g., Ex. G3 at D-43
15                                               .) But none of these cited pages mention
16 “measurement” or show that the Oxxiom Device is taking measurements. Rather, Mr.
17 Goldberg merely purports to show
18                                                                            (Ex. G at D-43,
19 D-44, D-47.)4 Plaintiffs’ analysis rests on a false premise: that “the claims [of the ’271
20 Patent] do not require taking or blocking a physiological measurement” and instead
21 only “require blocking readings by the photodiode.” (Dkt. 344 at 5.) This is wrong: the
22   1 Throughout this brief, citations to pages in docket entries refer to the footer page
23   numbers.
     2 In the entirety of Defendants’ opening brief, Defendants only include two sentences
24   relating to Dr. Lamego’s intent, and the information provided therein is merely
     additional, confirmatory information. (Dkt. 332-2 at 7.)
25   3 Throughout this brief, unless otherwise specified, lettered exhibits (e.g., Ex. G) are

26   exhibits to the Declaration of Ryan Fletcher in Support of Defendants’ Motion for
     Partial Summary Judgment, Dkt. 332-1, filed on September 3, 2021.
27   4 Mr. Goldberg testified that “active” means “able to do things; awake; alive; powered.”

     (SUF ¶ 106; see also Dkt. 344 at 7 (alleging active means “turned on.”).)
28
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 1 Court construed “an opaque portion attachable to the sensor and configured to block
 2 readings by the sensor”/“an opaque portion attachable to the sensor and configured to
 3 block optical readings by the sensor” to mean “a portion attachable to the sensor
 4 designed to block a range of wavelengths of light sufficient to prevent
 5 measurements.” (Statement of Uncontroverted Facts Dkt. 332-3 (“SUF”) ¶ 61
 6 (emphasis added).) Sensitivity and measurement are not the same and cannot be the
 7 same in light of Mr. Goldberg’s testimony below. Under the Court’s claim construction,
 8 True Wearables does not infringe the asserted claims of the ’271 Patent because the
 9 Oxxiom Device does not “measure” while in standby mode and is not designed to do so.
10      Plaintiffs concede that Mr. Goldberg admitted that the Oxxiom Device does not
11 take measurements while in standby mode.5 (Statement of Genuine Disputed Facts
12 (“SGD”) ¶ 101.)6 As Mr. Goldberg noted,
13                                             . Mr. Goldberg made multiple admissions in
14 his report and deposition to the same effect—Plaintiffs’ position is contradicted by their
15 own expert and wholly unsupported. (E.g., SUF ¶¶ 96-100; see also SGD ¶¶ 96-100
16 (admitting facts).) Mr. Goldberg’s admissions confirm that the Oxxiom’s alleged sensor
17 cover is not “designed to . . . prevent measurement.”
18         Contrary to Plaintiffs’ contentions, Dr. Lamego did not testify otherwise. (Dkt.
19 344 at 5) His testimony makes clear that the Oxxiom® System only collects data when
20 there is a Bluetooth connection. (Ex. 2 to Dkt. 344 at 781:9-784:21.) Dr. Lamego’s
21 testimony is completely consistent with Mr. Goldberg’s testimony on this point.
22       Plaintiffs also cite Mr. Goldberg’s analysis of the Oxxiom® System
23
24   Standby mode refers to when the Oxxiom Device is not paired with the iOS App. and
     5

   the Device’s green LED emits a flashing light. (SUF ¶¶ 80-81; see also SGD ¶¶ 80-81.)
25 6 Mr. Goldberg provided an errata relating to this statement. Defendants’ SUF ¶ 101
   included that correction in its quotation of Mr. Goldberg’s testimony and cited to his
26 errata. However, Defendants’ SUF ¶ 101 inadvertently omitted a separate “not” from
27 the statement made by Mr. Goldberg. Plaintiffs’ SGD ¶ 101 includes the proper
   quotation as corrected by Mr. Goldberg.
28
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 1                                                                               . (SUF ¶¶ 92-
 2 95, 102-105.) Plaintiffs argue that “True Wearables provides no evidence suggesting
 3 that reattaching the cover is contrary to the instructions.” (Dkt. 344 at 6.) Plaintiffs play
 4 semantic games. True Wearables instructs a user to remove Tab 2, place the Oxxiom
 5 Device on the measurement site, and then connect to the iOS App. (SUF ¶¶ 92-95.) This
 6 is undisputed. (SGD ¶¶ 92-95.) Nowhere does True Wearables instruct a user
 7                              . (SUF ¶ 104; see also Exs. N, O.) Taking an action that is
 8 not instructed is acting contrary to the instructions. Mr. Goldberg conceded that he used
 9 the Oxxiom® System differently than instructed. (SUF ¶¶ 104-105.)
10       Plaintiffs attempt to avoid Defendants’ case law, claiming “Goldberg did not alter
11 the Oxxiom or its cover.” (Dkt. 344 at 6) But Plaintiffs fail to explain how Mr.
12 Goldberg’s actions are not “physical modifications” of the Oxxiom Device. After
13 removal of the alleged cover Tab 2 (following True Wearables’ instructions), Mr.
14 Goldberg                                                                   (contrary to True
15 Wearables’ instructions).
16         Mr. Goldberg’s actions are analogous to those in Accent Packaging and High
17 Tech Medical Instrumentation. In Accent Packaging, Inc. v. Leggett & Platt, Inc., the
18 patentee argued that because a SafeLatch stop could easily be removed by the user, the
19 device infringed. 707 F.3d 1318, 1327 (Fed. Cir. 2013). The court disagreed, explaining
20 that “[a] device does not infringe simply because it is possible to alter it in a way that
21 would satisfy all the limitation of a patent claim” and finding persuasive that the
22 defendant’s manual and marketing materials did not promote or suggest alteration. Id.
23 Likewise, in High Tech Med. Instrumentation, Inc. v New Image Indus., Inc., the court
24 rejected the patentee’s attempts to show infringement by operating a camera in a
25 manner that was not instructed. 49 F.3d 1551, 1555-56 (Fed. Cir. 1995). Similarly, here,
26 Mr. Goldberg altered the Oxxiom, contrary to True Wearables’ instructions that Tab 2
27 should be removed before pairing. (SUF ¶¶ 92-95; Ex. 3 to Dkt. 344.)
28
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 1         As these cases illustrate, an uninstructed and aberrant use cannot be used to show
 2 infringement. Plaintiffs’ two cited cases do not hold otherwise. In John Bean Techs.
 3 Corp. v. Morris & Assocs., Inc., the defendant sold two identical products with the same
 4 part number, only one of which was marketed for the use contemplated by the patent
 5 claim. 828 F. App’x 707, 714 (Fed. Cir. 2020). The court viewed this as evidence that
 6 both products were reasonably capable of infringing. Id. Here, in contrast, Plaintiffs
 7 have not—and cannot—identified any instance of True Wearables instructing users to
 8 use the Oxxiom’s alleged sensor cover in the manner tested by Mr. Goldberg. In
 9 Hilgraeve Corp. v. Symantec Corp., the court rejected the type of testing performed by
10 Mr. Goldberg, stating that “tests of an accused device under unusual conditions are not
11 necessarily relevant to an infringement analysis.” 265 F.3d 1336, 1343 (Fed. Cir. 2001).
12       In any event, Plaintiffs’ cases do not apply when the claims require more than
13 “mere capability.” Plantronics, Inc. v. Aliph, Inc., No. C 09-01714 WHA, 2014 U.S.
14 Dist. LEXIS 24784, at *10 (N.D. Cal. Feb. 26, 2014) (rejecting attempts to show
15 infringement by showing “instances of infringement” in certain “outlier”
16 circumstances); see also Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424
17 F.3d 1293, 1312 (Fed. Cir. 2005) (finding Hilgraeve inapplicable where the claim
18 language required more than mere capability); Figa v. Apple Inc., No. 08-10304-NG,
19 2009 U.S. Dist. LEXIS 145604, at *36 (D. Mass. Sept. 21, 2009) (rejecting
20 infringement theory based on “an unusual operation of the accused product”). Here, the
21 Court construed the ’271 Patent’s claims to require a cover “designed to block a range
22 of wavelengths of light sufficient to prevent measurements” and held the term
23 “configured to” “requires an element of intentionality.” (SUF ¶¶ 61-62.) The Court
24 already rejected Plaintiffs’ argument that the claims require mere capability. (Dkt. 55 at
25 15.) Plaintiffs cannot succeed based on a single instance of misuse by their expert.
26         The videos that Plaintiffs cite do not show otherwise because Plaintiffs
27 mischaracterize video Exhibit 3. (Dkt. 344 (citing Ex. 3 (TRUE004449 at 00:35s)).) At
28
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1
     the cited section, Plaintiffs’ quote uses ellipses to blatantly exclude reference to removal
2
     of Tab 2. (Dkt. 344 at 6.) Comparing Plaintiffs’ quote with the full quote is telling:
3
      Plaintiffs’ Quote                            Full Quote (emphasis added)
4
      “To connect Oxxiom, pull tag 1. Press the “To connect Oxxiom, pull tag 1. Press the
5
      blue button…. Oxxiom will automatically blue button and remove tag 2. Oxxiom
6
      turn on…. It will instantly connect to your will automatically turn on. Oxxiom can
7
      mobile device.”                              be placed on the finger or temple. It will
8
                                                   instantly connect to your mobile device.”
9
     (Ex. 3 to Dkt. 344 (TRUE004449) at 00:59s-01:20s.)
10
           Plaintiffs have presented no evidence to support their infringement position. No
11
     genuine issues of disputed fact exist. The Court should grant summary judgment on all
12
     claims of the ’271 Patent.
13
           B.     The Oxxiom is not “Active” in Standby Mode
14
           Plaintiffs do not dispute the stated purpose of the invention is to reduce or
15
     eliminate false readings. (Dkt. 344 at 7-8.) Courts routinely recognize the relevance of
16
     the invention’s purpose in claim interpretation. E.g., Kaken Pharm. Co., Ltd. v. Iancu,
17
     952 F.3d 1346, 1352 (Fed. Cir. 2020) (“A patent’s statement of the described
18
     invention’s purpose informs the proper construction of claim terms[.]”); In re Power
19
     Integrations, Inc., 884 F.3d 1370, 1376-77 (Fed. Cir. 2018). In the cases cited by
20
     Plaintiffs, the defendants proposed a “wholesale judicial rewriting of the claim” and
21
     attempted to limit the claim scope to only “particular embodiments.” Here, interpreting
22
     “active” consistent with the purpose of the patent is far from a rewriting of the claims.
23
           Plaintiffs’ assertion that “active” means “turned on” is inconsistent with the
24
     purpose of the invention (SUF ¶¶ 64, 65, 67) and should be rejected. KEYnetik, Inc. v.
25
     Samsung Elecs. Co., Ltd., 837 F. App’x 786, 792 (Fed. Cir. 2020) (rejecting claim
26
     interpretation that “would eviscerate the stated purpose of the claimed invention”).
27
     Plaintiffs offer no evidence from the Patents in Suit to support that the plain and
28
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 1 the cover is blocking a portion of light from the one or more emitters.
 2       D.      True Wearables does not Directly Infringe Claims 1-2 and 7-9 of the
 3               ’271 Patent and Claims 1-5, 9-15, and 18-26 of the ’848 Patent
 4               1.     The Claims Require Action
 5         Plaintiffs contend that claims 1-2 and 7-9 of the ’271 Patent and claims 1-5, 9-15,
 6 and 18-26 of the ’848 Patent do not require operation or use of the Oxxiom® System,
 7 alleging that the language is just “functional language describing the invention in terms
 8 of what it can accomplish.” (Dkt. 344 at 10.) Not so. Plaintiffs cite no case law to
 9 support their position that language such as “attaching the sensor cover to the sensor,
10 the sensor cover blocking readings by the sensor” is simply functional language
11 speaking of capability. (Id.; see also Dkt. 332-2 at 10-11.)
12         Moreover, Plaintiffs offer no explanation as to why the binding cases cited by
13 Defendants, which directly address this issue, are wrong. (Dkt. 344 at 10 (failing to
14 address or distinguish Mformation Techs. or Nikon Corp.).) The clear language of the
15 claims requires action. See Dkt. No. 332-2 at 10; TransAmerica Life Ins. Co. v. Lincoln
16 Nat. Life Ins. Co., 550 F. Supp. 2d 865, 956 (N.D. Iowa Mar. 10, 2008) (construing
17 “monitoring” to mean “[t]he act of observing, checking, or keeping track of”);
18 Teradyne, Inc. v. Hewlett-Packard Co., No. C-91-0344 MHP, 1994 WL 317527, at *6
19 (N.D. Cal. June 21, 1994) (use of “ing” in claim language “clearly refer[s] to action”).
20       It is not the role of the Court to rewrite Plaintiffs’ claims. Helmsderfer v. Bobrick
21 Washroom Equip., Inc., 527 F.3d 1379, 1383 (Fed. Cir. 2008); SRAM Corp. v. AD-II
22 Eng’g, Inc., 465 F.3d 1351, 1359 (Fed. Cir. 2006). If Plaintiffs intended their claims to
23 require mere capability, they could have drafted accordingly. They did not. The Court
24 should reject Plaintiffs’ improper attempts to re-write their claims.
25               2.     Plaintiffs are Precluded from Asserting Direct Infringement by
26                      True Wearables
27         In an attempt to save claims 1-2 and 7-9 of the ’271 Patent and claims 1-5, 9-15,
28
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1
     claim charts directed to this element do not allege that True Wearables operates and
2
     uses the Oxxiom Device in support of this claim element 1(e). (Ex. I at accompany Ex.
3
     A at claim 1(e).) The same is true for claims 2 and 7-9 of the ’271 Patent and claims 1-
4
     5, 9-15, and 18-26 of the ’848. (Id. at accompanying Ex. A at claims 1-2 and 7-9 and
5
     accompanying Ex. B at claims 1-5, 9-15, and 18-26.)
6
           Indeed, all of the evidence Plaintiffs now rely on to establish True Wearables’
7
     alleged use of the Oxxiom® System—the deposition testimony of Dr. Lamego, Exhibit
8
     4 (TRUE001148), Exhibit 5 (TRUE004863), the deposition testimony of Anthony
9
     Allen (Ex. 9), and clinical submissions to the FDA (Ex. 23 at TRUE0025927-68)—is
10
     absent from Plaintiffs’ Final Infringement Contentions claim charts for these claims.
11
     (Compare Dkt. 344 at 10-11 with Ex. I at accompanying Ex. A at claims 1-2 and 7-9
12
     and accompanying Ex. B at claims 1-5, 9-15, and 18-26.)
13
           Plaintiffs should not now, for the first time in opposition to summary judgment,
14
     be allowed to rely on allegations and evidence not included in their Final Infringement
15
     Contentions.
16
           E.       Plaintiffs have not Shown Direct Infringement of ’271 Patent Claim 6
17
           Plaintiffs point to no evidence that True Wearables or a True Wearables customer
18
     used the Oxxiom® System in a manner that infringes claim 6. (Dkt. 344 at 9-10.)
19
     Instead, Plaintiffs claim that they do not need to identify a direct infringer because the
20
     “Oxxiom User Manual provides at least some evidence that a customer would activate
21
     the light source when using the device.” (Id. at 9.) Plaintiffs’ argument fails.
22
           Instruction manuals are not evidence of direct infringement if the accused product
23
     does not necessarily infringe and, instead, can be used in a non-infringing manner. E.g.,
24
     ACCO Brands, Inc. v. ABA Locks Mfr. Co., Ltd., 501 F.3d 1307, 1312-13 (Fed. Cir.
25
     2007); Mirror Worlds, LLC v. Apple Inc., 692 F.3d 1351, 1360-61 (Fed. Cir. 2012)
26
     (“[E]xcerpts from user manuals as evidence of underlying direct infringement by third
27
     parties of products that can be used in a non-infringing manner are by themselves
28
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 1 about what will be shown at trial; and (2) inappropriately shifting the burden to
 2 Defendants. Both are improper and do not create a genuine issue of material fact.
 3         The thrust of Plaintiffs’ argument is that McNames considered Defendants’
 4                      in addition to                                        and therefore
 5 “Masimo will show that the processing McNames pointed to in his analysis is in all
 6 Oxxiom source code versions.” (Dkt. 344 at 19 (emphasis added).) Notably, Plaintiffs
 7 admit that McNames                                                                 —
 8 Plaintiffs do not point to any evidence alleging that the “processing McNames pointed
 9 to in his analysis” of
10       . Indeed, McNames’s report says
11
12                                                     (SUF ¶ 155.)
13         McNames’s report must disclose “a complete statement of all opinions the
14 witness will express and the basis and reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(i).
15 McNames’s report and testimony regarding the use of TS6 and TS9 by the Oxxiom®
16 System is                               . Amtel Corp. v. Info. Storage Devices, Inc.,
17 189 F.R.D. 410, 415-16 (N.D. Cal. 1999) (excluding expert opinion about trade secrets
18 where opinion was not included in written report). What Plaintiffs may show at trial is
19 mere allegation and speculation, which is insufficient to overcome summary judgment.
20 Nelson v. Pima Cmty. College, 83 F.3d 1075, 1081-82 (9th Cir. 1996) (“[M]ere
21 allegation and speculation do not create a factual dispute for purposes of summary
22 judgment.”); Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007).
23         Plaintiffs also attempt to avoid summary judgment by asking the Court to
24 improperly reverse the burden of proof, arguing that “Defendants have not
25
26                                                                             (Dkt. 344 at
27 18.) It is Defendants’ burden to demonstrate an absence of a genuine issue of material
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     Weinstein, 967 F.3d 952, 955-56 (9th Cir. 2020). Decisions of lower appellate courts are
2
     not binding. Id. Footnote 9 of ABBA Rubber is wrong, and it has been expressly rejected
3
     by the Judicial Council of California Jury Instructions. See CACI No. 4420 (2009)
4
     (distinguishing footnote 9 of ABBA Rubber); Judicial Council of Cal. Administrative
5
     Office of the Courts, Report, at 6 (2009) (“However, the committee does not consider
6
     the footnote [9] to be controlling authority.”). (Exs. NN, MM, respectively.) Plaintiffs’
7
     other cited cases, which rely on ABBA Rubber, are unpersuasive for the same reason.
8
     (E.g., Dkt. 344 at 20-21.) The legal approach adopted by the Judicial Council of
9
     California Civil Jury Instructions is a better indication of how the California Supreme
10
     Court would decide the issue.8 The California Supreme Court is likely to conclude that
11
     the affirmative defense of ready ascertainability does not include any “in fact
12
     ascertained” requirement.
13
           As explained in True Wearables’ opening brief, imposing an additional
14
     requirement that the defendant prove it in fact acquired the alleged trade secret through
15
     the identified readily ascertainable means is legally inconsistent with the Legislative
16
     Committee comments to the CUTSA, which confirm ready ascertainability is an
17
     affirmative defense. See Cal. Civ. Code § 3426.1 (1984 Legislative Committee
18
     Comments). Plaintiffs’ attempt to counter this argument by relying on the absence of
19
     the word “affirmative” in the comments describing the “readily ascertainable” defense
20
     is misguided. The Legislative Committee comments explain that “the assertion that a
21
     matter is readily ascertainable by proper means remains available as a defense to a
22
23   8 According to the California Rules of Court, the Judicial Council of California Jury
24   Instructions “are the official instructions for use in the state of California” and they
     “provid[e] standardized instructions that accurately state the law.” Cal. R. Ct. 2.1050(a).
25   Furthermore, the Judicial Council of California, which is responsible for approving the
     Jury Instructions, is currently chaired by Justice Tani G. Cantil-Sakauye, the Chief
26   Justice of the California Supreme Court. (Fletcher Reply Decl., Ex. QQ at xv.)
27   Associate Justice Ming W. Chin of the California Supreme Court is also a member of
     the Council. Id.
28
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1
     claim of misappropriation.” Id. (emphasis added). The party who would make “the
2
     assertion” of the “defense” is the defendant. In placing the burden of asserting ready
3
     ascertainability on the defendant, the Legislative Committee comments confirm the
4
     Committee considered it an affirmative defense to be raised by the defendant, not a
5
     traverse to a plaintiff’s assertion of misappropriation. E.g., Piercy v. Sabin, 10 Cal. 22,
6
     27 (Cal. 1858) (“New matter is that which, under the rules of evidence, the defendant
7
     must affirmatively establish. If the onus of proof is thrown upon the defendant, the
8
     matter to be proved by him is new matter.”); Walsh v. W. Valley Mission Cmty. Coll.
9
     Dist., 78 Cal. Rptr. 2d 725, 733 (Ct. App. 1998) (same); cf. Harris v. City of Santa
10
     Monica, 294 P.3d 49, 71 (Cal. 2013) (citing Piercy, 10 Cal. at 27 with approval).
11
           As the California Jury Instructions explain, that a defendant “in fact ascertained”
12
     information from public sources is a traverse to the “acquisition by improper means”
13
     element of a plaintiff’s prima facie case of misappropriation. See CACI No. 4420
14
     (2009) (“Such a requirement would not constitute an affirmative defense but rather
15
     would be a denial of the improper-means element of the plaintiff’s claim. Because the
16
     advisory committee believes that this is an affirmative defense, no such requirement has
17
     been included in this instruction.”); see also Bladeroom Grp. Ltd. v. Emerson Elec. Co.,
18
     No. 5:15-cv-01370-EJD, 2018 U.S. Dist. LEXIS 64695, at *6 (N.D. Cal. Apr. 16, 2018)
19
     (explaining evidence of independent derivation under the CUTSA is a traverse, not an
20
     affirmative defense, because the defendant does not bear the burden of proof). Imposing
21
     an “in fact ascertained” requirement would improperly collapse the issue of readily
22
     ascertainability with that of independent derivation and be inconsistent with the
23
     existence of an affirmative defense that the trade secret is “readily ascertainable.”
24
           The decision in San Jose Constr., Inc. v. S.B.C.C., Inc., 67 Cal. Rptr. 3d 54 (Ct.
25
     App. 2007), is aligned with the California Jury Instructions, and Plaintiffs’ attempt to
26
     argue otherwise fails. Plaintiffs assert that, because it reversed a grant of summary
27
     judgment, the court in San Jose Construction “did not have to decide whether the
28
                                                 - 22 -
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 1 language of                  , which recognizes that
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 5                                                              This disclosure
 6
 7        Plaintiffs suggest that                does not disclose
 8                                                                                (Dkt. 344
 9 at 25.)
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17                                                                           10

18        Accordingly, TS14 does not constitute a trade secret because it was not subject to
19 reasonable efforts to maintain its secrecy, and it is generally known or readily
20 ascertainable. Partial summary judgment should be entered in favor of Defendants with
21 respect to TS14.
22
23
24
   10 Plaintiffs assert summary judgment is inappropriate because it is not supported by
25 expert testimony, but expert testimony is not required. See Wyers v. Master Lock Co.,
26 616 F.3d 1231, 1242 (Fed. Cir. 2010) (in the analogous patent context, “expert
   testimony is not required when the references and the invention are easily
27 understandable”).
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1 Dated: September 20, 2021             CALL & JENSEN
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7                                       and Marcelo Lamego
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         DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT
